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Approved.
/s/ Benita Y. Pearson on 5/12/2015
United States District Judge     IN THE UNITED     STATES DISTRICT COURT
                                    FOR NORTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION


       AIM LEASING COMPANY                                   CASE NO.: 4T4-CV-02161
        dba AIM NATIONALEASE, et al.

                Plaintiffs                                   JUDGE: BENITA Y. PEARSON


       v.                                                    NOTICE OF VOLUNTARY
                                                             DISMISSAL WITHOUT PREJUDICE OF
       RLI CORP., et al                                      HARBOR AMERICA EAST, INC.


                Defendants



                Plaintiffs hereby provide notice, pursuant to Fed.R.Civ.P. 41(a)(l)(A)(i), of the voluntary

       dismissal without prejudice of claims against Harbor America East, Inc. only. Plaintiffs' claims

       against all other defendants shall remain pending and are not intended to be affected by this

       dismissal.




                                                     Respectfully Submitted,


                                                       /s/Richard G. Witkowski
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                                                     NICHOLAS J. DERTOUZOS (0071018)
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                                      CERTIFICATE OF SERVICE



       I hereby certify that on May 5th, 2015, a copy of foregoing wasfiled electronically. Notice of

this filing will be sent to all parties by operation of the Court's electronic filing system. Parties may

access this filing through the Court's system.




                                                 /s/Richard G. Witkowski
                                                 RICHARD G. WITKOWSKI (0009839)
                                                 One of the Attorneys for Plaintiffs
